                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     USA,                                                Case No. 14-cr-00175-WHA-1
                                   8                    Plaintiff,
                                                                                             ORDER DENYING PRO HAC VICE
                                   9              v.                                         APPLICATION
                                  10     PACIFIC GAS AND ELECTRIC                            Re: Dkt. No. 973
                                         COMPANY,
                                  11
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          The pro hac vice application of Attorney Kevin J. Orsini Re: Dkt. No. 973 is Denied for

                                  14   failing to comply with Civil Local Rule 11-3. That rule requires an applicant to certify that "he or

                                  15   she is an active member in good standing of the bar of a United States Court or of the highest

                                  16   court of another State or the District of Columbia, specifying such bar" (emphasis added). Filling

                                  17   out the pro hac vice form from the district court website such that it identifies only the state of bar

                                  18   membership — e.g., "the bar of New York" — is inadequate under the rule because it fails to

                                  19   identify a specific court. While the application fee does not need to be paid again, the application

                                  20   cannot be processed until a corrected form is submitted.

                                  21          IT IS SO ORDERED.

                                  22   Dated: January 23, 2019

                                  23

                                  24
                                                                                                      WILLIAM ALSUP
                                  25                                                                  United States District Judge
                                  26

                                  27

                                  28
